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 6

 7                               UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF CALIFORNIA
 9

10    SONIA K. SAMRA,                             Case No.
11                      Plaintiff,                COMPLAINT FOR DAMAGES
12          v.                                    1. VIOLATION OF THE FAIR DEBT
                                                  COLLECTION PRACTICES ACT, 15 U.S.C.
13                                                §1692 ET SEQ.
      CONSUMER SOLUTIONS GROUP,
14    LLC,                                        2. VIOLATION OF THE TELEPHONE
                                                  CONSUMER PROTECTION ACT, 47 U.S.C.
15                      Defendant.                §227 ET SEQ.
16                                                3. VIOLATION OF THE ROSENTHAL FAIR
                                                  DEBT COLLECTION PRACTICES ACT,
17                                                CAL. CIV. CODE §1788 ET SEQ.
18                                                DEMAND FOR JURY TRIAL
19

20                                           COMPLAINT
21
           NOW comes SONIA K. SAMRA (“Plaintiff”), by and through her attorneys, WAJDA
22
     LAW GROUP, APC (“Wajda”), complaining as to the conduct of CONSUMER SOLUTIONS
23
     GROUP, LLC (“Defendant”), as follows:
24
                                        NATURE OF THE ACTION
25
        1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act
26
27   (“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

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 1   under 47 U.S.C. §227 et seq., and the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”)
 2   pursuant to Cal. Civ. Code §1788 et seq., for Defendant’s unlawful conduct.
 3
                                          JURISDICTION AND VENUE
 4
           2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter
 5
     jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331 and
 6

 7   1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists for

 8   the state law claim pursuant to 28 U.S.C. §1367 because it arises out of the common nucleus of

 9   operative facts of Plaintiff’s federal questions claims.
10
           3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
11
     in the Eastern District of California and a substantial portion the events or omissions giving rise to
12
     the claims occurred within the Eastern District of California.
13
                                                   PARTIES
14

15         4. Plaintiff is a consumer over-the-age of 18 residing in Fresno County, California, which is

16   located within the Eastern District of California.
17         5. Plaintiff is a “person,” as defined by 47 U.S.C. §153(39).
18
           6. Defendant advertises that it is “an Atlanta based Corporation providing service for
19
     delinquent account receivables for a variety of industries including Automotive, Medical, Credit
20
     Cards, Bank Overdraft, and Retail.”1 Defendant is a corporation organized under the laws of the
21

22   State of Georgia with its principal place of business located at 1180 McKendree Church, Rd., Suite

23   105, Lawrenceville, Georgia 30043. Defendant regularly collects from consumers, including those

24   within the State of California.
25         7. Defendant is a “person” as defined by 47 U.S.C. §153(39).
26
27

28   1
         https://www.cs-groupllc.com/
                                                          2
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 1       8. Defendant acted through its agents, employees, officers, members, directors, heirs,
 2   successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
 3
     relevant to the instant action.
 4
                                   FACTS SUPPORTING CAUSES OF ACTION
 5
         9.   The instant action stems from Defendant’s attempts to collect upon a defaulted credit card
 6

 7   debt (“subject debt”) that Plaintiff purportedly owes to the Bank of Missouri.

 8       10. Thereafter, around the summer of 2019, Plaintiff began receiving calls to her cellular

 9   phone, (559) XXX-3000, from Defendant.
10
         11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and
11
     operator of the cellular phone ending in -3000. Plaintiff is and always has been financially
12
     responsible for the cellular phone and its services.
13
         12. Defendant has primarily used the phone number (866) 927-4616 when placing collection
14

15   calls to Plaintiff’s cellular phone, but upon belief, Defendant has used other numbers as well.

16       13. Upon information and belief, the above-referenced phone number ending in -4616 is
17   regularly utilized by Defendant during its debt collection activity.
18
         14. Upon answering phone calls from Defendant, Plaintiff has experienced a significant pause,
19
     lasting several seconds in length, before being connected with a live representative.
20
         15. Upon speaking with Defendant, Plaintiff learned that Defendant is a debt collector
21

22   attempting to collect upon the subject debt.

23       16. Defendant’s harassing collection campaign caused Plaintiff to demand that it cease calling

24   her cellular phone.
25       17. Despite Plaintiff’s demands, Defendant continued to place phone calls to Plaintiff’s
26
     cellular phone seeking collection of the subject debt.
27

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 1       18. Plaintiff has received not less than 25 phone calls from Defendant since asking it to stop
 2   calling.
 3
         19. Moreover, Defendant has also contacted Plaintiff’s mother, father and sibling attempting
 4
     to collect upon the subject debt.
 5
         20. Frustrated over Defendant’s conduct, Plaintiff spoke with Wajda regarding her rights,
 6

 7    resulting in expenses.

 8       21. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

 9       22. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
10
      limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional
11
      distress, increased risk of personal injury resulting from the distraction caused by the never-ending
12
      calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular
13
      phone functionality, decreased battery life on her cellular phone, and diminished space for data
14

15    storage on her cellular phone.

16
                   COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
17
         23. Plaintiff repeats and realleges paragraphs 1 through 22 as though full set forth herein.
18

19       24. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

20       25. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

21   use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.
22
         26. Defendant identifies itself as a debt collector, and is engaged in the business of collecting
23
     or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed
24
     or due to others.
25
         27. The subject consumer debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a
26
27   transaction due or asserted to be owed or due to another for personal, family, or household purposes.

28              a. Violations of FDCPA §1692b
                                                        4
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 1      28. The FDCPA, pursuant to 15 U.S.C. §1692b(2), prohibits “[a]ny debt collector
 2   communicating with any person other than the consumer for the purpose of acquiring location
 3
     information about the consumer shall not state that such consumer owes any debt [.]”
 4
        29. Defendant violated §1692b(2) when it contacted Plaintiff’s family members and disclosed
 5
     to them that Plaintiff purportedly owes the subject debt.
 6

 7          b. Violations of FDCPA §1692c(a)(1) and §1692d

 8      30. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

 9   any conduct the natural consequence of which is to harass, oppress, or abuse any person in
10
     connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring
11
     or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
12
     abuse, or harass any person at the called number.”
13
        31. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called Plaintiff after being
14

15   notified to stop. Defendant called Plaintiff at least 25 times after she demanded that it stop calling.

16   This repeated behavior of systematically calling Plaintiff’s phone in spite of her demands was
17   harassing and abusive. The frequency and nature of calls shows that Defendant willfully ignored
18
     Plaintiff’s pleas with the goal of annoying and harassing her.
19
        32. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant
20
     knew that its conduct was inconvenient and harassing to her.
21

22           c. Violations of FDCPA § 1692e

23      33. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,

24   deceptive, or misleading representation or means in connection with the collection of any debt.”
25      34. In addition, this section enumerates specific violations, such as:
26
                “The use of any false representation or deceptive means to collect or attempt to
27              collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
                §1692e(10).
28
                                                        5
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 1      35. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or attempt
 2   to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop contacting her,
 3
     Defendant continued to contact her via automated calls. Instead of putting an end to this harassing
 4
     behavior, Defendant systematically placed calls to Plaintiff’s cellular phone in a deceptive attempt
 5
     to force her to answer its calls and ultimately make a payment. Through its conduct, Defendant
 6

 7   misleadingly represented to Plaintiff that it had the legal ability to contact her via an automated

 8   system when it no longer had consent to do so.

 9           d. Violations of FDCPA § 1692f
10
        36. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
11
     unconscionable means to collect or attempt to collect any debt.”
12
        37. Defendant further violated §1692f when it unfairly and unconscionably attempted to collect
13
     on a debt by continuously calling Plaintiff at least 25 times after being notified to stop. Attempting
14

15   to coerce Plaintiff into payment by placing voluminous phone calls without her permission is unfair

16   and unconscionable behavior. These means employed by Defendant only served to worry and
17   confuse Plaintiff.
18
        38. As pled in paragraphs 20 through 22, Plaintiff has been harmed and suffered damages as a
19
     result of Defendant’s illegal actions.
20
        WHEREFORE, Plaintiff, SONIA K. SAMRA, respectfully requests that this Honorable Court
21

22   enter judgment in her favor as follows:

23      a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned bodies of law;
24
        b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
25         §1692k(a)(2)(A);
26
        c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
27         under 15 U.S.C. §1692k(a)(1);

28
                                                        6
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 1      d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
           §1692k(a)(3);
 2

 3      e. Enjoining Defendant from further contacting Plaintiffs seeking payment of the subject debt;
           and
 4
        f. Awarding any other relief as this Honorable Court deems just and appropriate.
 5

 6             COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
 7      39. Plaintiff repeats and realleges paragraphs 1 through 38 as though fully set forth herein.
 8
        40. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their
 9
     cellular phone using an automatic telephone dialing system (“ATDS”) or pre-recorded messages
10
     without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment
11

12   which has the capacity...to store or produce telephone numbers to be called, using a random or

13   sequential number generator; and to dial such numbers.”

14      41. Defendant used an ATDS in connection with its communications directed towards
15
     Plaintiff’s cellular phone. The significant pause, lasting several seconds in length, which Plaintiff
16
     has experienced during answered calls is instructive that an ATDS was being utilized to generate
17
     the phone calls. Additionally, Defendant continuing to contact Plaintiff after she demanded that the
18
     phone calls stop further demonstrates Defendant’s use of an ATDS. Moreover, the nature and
19

20   frequency of Defendant’s contacts points to the involvement of an ATDS.

21      42. Defendant violated the TCPA by placing at least 25 phone calls to Plaintiff’s cellular phone
22   using an ATDS without her consent. Any consent that Plaintiff may have given to the originator of
23
     the subject consumer debt, which Defendant will likely assert transferred down, was specifically
24
     revoked by Plaintiff’s demands that it cease contacting her.
25
        43. The calls placed by Defendant to Plaintiff were regarding collection activity and not for
26
27   emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

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                                                       7
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 1       44. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for
 2   at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA
 3
     should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise
 4
     entitled to under 47 U.S.C. § 227(b)(3)(C).
 5
         WHEREFORE, Plaintiff, SONIA K. SAMRA, respectfully requests that this Honorable Court
 6

 7   enter judgment in her favor as follows:

 8       a. Declaring that the practices complained of herein are unlawful and violate the
            aforementioned statutes and regulations;
 9
         b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
10
            pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);
11
         c. Awarding Plaintiff costs and reasonable attorney fees;
12
         d. Enjoining Defendant from further contacting Plaintiffs seeking payment of the subject
13          debt; and
14
         e. Awarding any other relief as this Honorable Court deems just and appropriate.
15
           COUNT III – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
16
         45. Plaintiff restates and realleges paragraphs 1 through 44 as though fully set forth herein.
17
         46. Plaintiff is a “person[s]” as defined by Cal. Civ. Code § 1788.2(g).
18
         47. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)
19

20   and (f).

21       48. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).

22
                a. Violations of RFDCPA § 1788.10 – 1788.17
23
         49. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
24

25   provision of this title, every debt collector collecting or attempting to collect a consumer debt shall

26   comply with the provisions of Section 1692b to 1692j, inclusive of, and shall be subject to the

27   remedies in Section 1692k of, Title 15 of the United States Code.”
28
                                                        8
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 1       50. As outlined above, through its continuous attempts to collect upon the subject debt,
 2   Defendant violated 1788.17; and §§1692d, e, and f. Defendant engaged in a harassing, deceptive
 3
     and unconscionable campaign to collect from Plaintiff through the implicit misrepresentations
 4
     made on phone calls placed to Plaintiff’s cellular phone. Through its conduct, Defendant
 5
     misleadingly represented to Plaintiff that it had the lawful ability to continue contacting her cellular
 6

 7   phone using an automated system absent her consent. Such lawful ability was revoked upon

 8   Plaintiff demanding that Defendant stop calling her cellular phone, illustrating the deceptive nature

 9   of Defendant’s conduct. Moreover, Defendant’s actions were deceptive and unfair as it
10
     continuously led Plaintiff to believe that it had the lawful authority to collect upon a debt that is not
11
     owed.
12
         51. Defendant willfully and knowingly violated the RFDCPA through its egregious collection
13
     efforts. Defendant’s willful and knowing violations of the RFDCPA should trigger this Honorable
14

15   Court’s ability to award Plaintiff statutory damages of up to $1,000.00, as provided under Cal. Civ.

16   Code § 1788.30(b).
17       WHEREFORE, Plaintiff, SONIA K. SAMRA, respectfully requests that this Honorable Court
18
     enter judgment in her favor as follows:
19
         a. Declare that the practices complained of herein are unlawful and violate the aforementioned
20          statute;
21       b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
22
         c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
23          1788.30(b);

24       d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
            § 1788.30(c);
25

26       e. Enjoining Defendant from further contacting Plaintiffs seeking payment of the subject debt;
            and
27
         f. Award any other relief as the Honorable Court deems just and proper.
28
                                                         9
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 1
        Dated: September 24, 2019       Respectfully submitted,
 2
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